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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                SAN ANGELO DIVISION

  JON DISHON, et al.,

          Plaintiffs,

  v.                                                           No. 6:22-CV-001-H-BU

  LONESOME CREEK RESORT, LLC, et
  al.,

          Defendants.

                                             ORDER
         The United States Magistrate Judge issued Findings, Conclusions, and

  Recommendations (FCR) that the Court approve the parties’ agreement to settle the claim

  of the minor T. Dishon for payment into the registry of the Court, for remaining funds to be

  released to the minor upon her reaching the age of majority, and order the parties to

  cooperate in executing all documents and taking actions necessary to give effect to the

  settlement of the minor’s claim. Dkt. No. 108 at 5–6. The FCR also recommends that the

  Court order the taxing of costs against the defendants in the amount of $2,192 to pay for the

  fee of the guardian ad litem and that the defendants pay the guardian ad litem directly. Id.

  at 6. The FCR also recommends that the Court order the parties to otherwise bear their

  own costs and fees and that the Court dismiss with prejudice all other claims and

  counterclaims in the lawsuit. Id.

         The parties stipulated on the record of the first prove-up hearing that they waived

  their right to file written objections to this FCR. Id. at 6–7. Having no objections, the Court

  reviews the Magistrate Judge’s findings, conclusions, and recommendations only for plain

  error. Serrano v. Customs & Border Patrol, U.S. Customs & Border Prot., 975 F.3d 488, 502 (5th
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  Cir. 2020). The District Court has reviewed the FCR for plain error. Finding none, the

  Court accepts and adopts the FCR. The Court approves the parties’ agreement to settle the

  claim of minor T. Dishon. That payment shall go into the registry of the Court for the use

  and benefit of T. Dishon with only court-approved withdrawals until T. Dishon reaches the

  age of majority. Upon her reaching the age of majority, any remaining funds in the registry

  for her use shall be released to her. The parties are hereby ordered to execute all documents

  and take all actions reasonably necessary to give full effect to the agreement to settle T.

  Dishon’s claims. The Court further orders that the defendants pay directly the guardian ad

  litem, Russell Lorfing, $2,192.00 within 30 days of the date of this Order. The parties shall

  otherwise bear their own costs and fees. Finally, the Court orders that all claims and

  counterclaims in this lawsuit are dismissed with prejudice.

         So ordered on November 7, 2024.



                                                  JAMES WESLEY HENDRIX
                                                  UNITED STATES DISTRICT JUDGE




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